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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division


 UNITED STATES OF AMERICA


 V.                                               Criminal Action No.3:13CR107-HEH


 RICKY TIMOTHY WYATT,JR.,                         Civil Action No.
                                                                       3:20-cv-812

        Petitioner.


                               MEMORANDUM OPINION
                      (Dismissing Successive 28 U.S.C.§ 2255 Motion)

        By Memorandum Opinion and Order entered on August 15,2017,the Court

 denied a 28 U.S.C. § 2255 motion filed by Petitioner. (ECF Nos. 69, 70.) On November

 7, 2019, the Court received another 28 U.S.C. § 2255 motion(ECF No. 80)from Wyatt,

 which the Court denied on January 15,2020. (ECF Nos. 82, 83.) The Court has now

 received an additional motion, which Wyatt has styled as a Motion for Audita Querela,

 and a related Motion for Default or Summary Judgment. (ECF Nos. 81, 88.) For the

 reasons stated herein, Wyatfs Motion for Audita Querala is a successive, unauthorized

 § 2255 motion and the Court lacks jurisdiction to entertain either of Wyatfs latest filings.

        A motion pursuant to 28 U.S.C. § 2255 "'provides the primary means of collateral

 attack on a federal sentence.'" Pack v. Yusuff, 218 F.3d 448, 451 (5th Cir. 2000)(quoting

 Cox V. Warden, Fed. Det. Ctr., 911 F.2d 1111, 1113 (5th Cir. 1990)). The Antiterrorism

 and Effective Death Penalty Act of 1996 restricted the jurisdiction ofthe district courts to

 hear second or successive applications for federal habeas corpus relief by prisoners

 attacking the validity oftheir convictions and sentences by establishing a "'gatekeeping'
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 mechanism." Felker v. Turpin, 518 U.S. 651,657(1996). Specifically,"[b]efore a

 second or successive application permitted by this section is filed in the district court, the

 applicant shall move in the appropriate court of appeals for an order authorizing the

 district court to consider the application." 28 U.S.C. § 2244(b)(3)(A).

        The United States Court of Appeals for the Fourth Circuit has held that inmates

 may not avoid the bar on successive collateral attacks on their convictions and sentences

 by inventive labeling. See United States v. Winestock, 340 F.3d 200, 206(4th Cir. 2003).

"Call it a motion for a new trial, arrest ofjudgment, mandamus, prohibition, coram nobis,

 coram vobis, audita querela, certiorari, capias, habeas corpus, ejectment, quare

 impedit... or an application for a Get-Out-of-Jail-Card; the name makes no difference.

 It is substance that controls." Melton v. United States, 359 F.3d 855,857(7th Cir. 2004)

(citing Thurman v. Gramley,97 F.3d 185, 186-87(7th Cir. 1996)). Thus,"[a]ny motion

 filed in the district court that imposed the sentence, and substantively within the scope of

 § 2255[(a)], is a motion under § 2255, no matter what title the prisoner plasters on the

 cover." Id. (citing Ramunno v. United States, 264 F.3d 723(7th Cir. 2001)).

        Wyatt's Motions challenge his conviction and sentence and fall within the scope

 of28 U.S.C. § 2255(a). See United States v. Sessoms,488 F. App' x 737, 738 (4th Cir.

 2012)(construing petition filed under 28 U.S.C. § 1651(a) as a successive § 2255

 motion). The Court has not received authorization from the Fourth Circuit to hear

 Wyatt's successive § 2255 Motion. Accordingly, the Clerk will be directed to file the

 present action as unauthorized successive motions under 28 U.S.C. § 2255. The action

 will be dismissed for want ofjurisdiction.
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        An appeal may not be taken from the final order in a § 2255 proceeding unless a

judge issues a certificate of appealability ("COA"). 28 U.S.C. § 2253(c)(1)(B). A COA

 will not issue unless a prisoner makes "a substantial showing of the denial of a

 constitutional right." 28 U.S.C. § 2253(c)(2). This requirement is satisfied only when

 "reasonable jurists could debate whether(or, for that matter, agree that) the petition

 should have been resolved in a different manner or that the issues presented were

 'adequate to deserve encouragement to proceed further.'" Slack v. McDaniel,529 U.S.

 473,484(2000)(quoting Barefoot v. Estelle, 463 U.S. 880, 893 & n.4(1983)). Wyatt

 has not satisfied this standard. Accordingly, a certificate of appealability is denied.

        An appropriate Order will follow.



                                                                        /s/
                                                   Henry E. Hudson
 Date:                                             Senior United States District Judge
 Richmond, Virginia
